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                             UNITED STATES DISTRICT COURT

                                DISTRICT OF CONNECTICUT

                                             :
UNITED STATES OF AMERICA                     :       Criminal No. 3:06cr161(EBB)
                                             :
       v.                                    :
                                             :
DAVID BOZZUTO                                :       April 1, 2008
                                             :

                               NOTICE OF MANUAL FILING

       Please take notice that the United States of America has electronically filed its

Government’s Sentencing Memorandum and manually filed Attachment A, which is an audio cd.

       This Notice of Manual Filing has been electronically served on all parties through the

court’s electronic filing system. The attachment has been manually served on all parties by mail

on April 1, 2008.

                                      Respectfully submitted,

                                      KEVIN J. O’CONNOR
                                      UNITED STATES ATTORNEY



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                                       CERTIFICATION

       I hereby certify that on April 1, 2008 the foregoing was filed electronically and served by

mail on anyone unable to accept electronic filing. Notice of this filing will be sent by e-mail to

all parties by operation of the Court’s electronic filing system or by mail to anyone unable to

accept electronic filing as indicated on the Notice of Electronic Filing. Parties may access this

filing through the Court’s CM/ECF System.




                                              _____________________________________
                                              RAYMOND F. MILLER
                                              ASSISTANT UNITED STATES ATTORNEY
